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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS
                                 KANSAS CITY DIVISION

MARY BUNKER and CHRIS BUNKER,
                  Plaintiff,
v.
TRANS UNION, LLC, EQUIFAX
INFORMATION SERVICES, LLC,                          Civil Action No.
ENHANCED RECOVERY COMPANY LLC,
ACCOUNT RESOLUTION CORPORATION,
OPTIMA RECOVERY SERVICES, CENTRAL
STATES RECOVERY, INC., and KANSAS
COUNSELORS, INC.,
            Defendants.

              DEFENDANT TRANS UNION LLC'S NOTICE OF REMOVAL

       COMES NOW, Trans Union LLC ("Trans Union"), and files this Notice of Removal

pursuant to 28 U.S.C. §1446(a) and in support thereof would respectfully show the Court as

follows:

                               A. PROCEDURAL BACKGROUND

       1.      On or about July 10,2017, Plaintiffs Mary Bunker and Chris Bunker ("Plaintiffs")

filed the Petition in this action in the District Court of Wyandotte County, Kansas ("State Court

Action") alleging violations of the Fair Credit Reporting Act, 15 U.S.C. §1681, et seq., against

Equifax Information Services, LLC ("Equifax"), Enhanced Recovery Company LLC ("Enhanced

Recovery"), Account Resolution Corporation ("Account Resolution"), Optima Recovery

Services ("Optima Recovery"), Central States Recovery, Inc. ("Central States Recovery"),

Kansas Counselors Inc. ("Kansas Counselors"), and Trans Union.

       2.      The time period for filing a responsive pleading in the State Court Action has not

expired as of the filing of this Notice of Removal. No orders have been entered in the State

Court Action as of the filling of this Notice of Removal.




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        3.      Defendants Trans Union, Equifax, Enhanced Recovery, and Account Resolution

were served with Plaintiffs' Petition on July 14, 2017. Defendant Optima Recovery was served

with Plaintiffs Petition on July 17, 2017. Defendants Central States Recovery and Kansas

Counselors have settled with the Plaintiffs. This Notice of Removal is being filed within the

thirty (30) day time period required by 28 U.S.C. §1446(b).

                                B. GROUNDS FOR REMOVAL

        4.     The present suit is an action over which this Court has original jurisdiction

pursuant to 28 U.S.C. § 1331, as it is a civil action founded on a claim or right arising under the

laws of the United States, and may be removed to this Court by Defendants pursuant to the

provisions of 28 U.S.C. §1446(b). Removal is thus proper because Plaintiffs' claims present a

federal question. 28 U.S.C. §§ 1331 and 1441(a). In the Petition, Plaintiffs seek damages for

Defendants' alleged violations of the Federal Fair Credit Reporting Act, 15 U.S.C. §1681 etseq.

               C. COMPLIANCE WITH PROCEDURAL REQUIREMENTS

       5.      Pursuant to 28 U.S.C. §1446(b), this Notice is being filed with this Court within

thirty (30) days after Defendants were first served with the Petition, the initial pleading setting

forth the claims for relief upon which Plaintiffs' action is based.

       6.      Pursuant to 28 U.S.C. §1441(a), venue of the removal action is proper in the

District of Kansas, Kansas City Division because it is in the district and division embracing the

place where the state court action is pending.

       7.      Promptly after the filing of this Notice of Removal, Trans Union LLC shall give

written notice of the removal to the Plaintiff and will file a copy of this Notice of Removal with

the District Court of Wyandotte County, Kansas, as required by 28 U.S.C. § 1446(d).

       8.      Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders




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served upon the Defendants in the State Court Action is attached hereto as "Exhibit A".

        9.     Trial has not commenced in the District Court of Wyandotte County, Kansas.

        10.    Upon information and belief, all Defendants who have been served upon the date

of filing of this Notice of Removal and remain parties to this litigation consent to the removal of

this case. Joinder in the Removal from Equifax, Enhanced Recovery, Account Resolution, and

Optima Recovery, are attached hereto as Exhibit "B". By filing this Notice of Removal, Trans

Union LLC consents to the removal of this case.

       WHEREFORE, Trans Union LLC respectfully prays that the action be removed to this

Court and that this Court assume full jurisdiction as if it had been originally filed here.

       Dated: August 11, 2017
                                               Respectfully submitted,

                                               /s/ Bryan E. Mouber
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 11th day of August, 2017, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
to the following:

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                                            /s/ Bryan E. Mouber
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